Case 1:22-cv-10018-JSR Document 27 Filed 12/05/22 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

JANE DOE 1, Individually and on
Behalf of All Others Similarly 22-cv-10018-UA (JSR)
Situated,

Plaintiff,

DEUTSCHE BANK ATTENGESELLSCHAEFT,
DEUTSCHE BANK AG NEW YORK BRANCH,
DEUTSCHE BANK TRUST COMPANY
AMERICAS,

Defendants.

 

 

 

 

JANE DOE 1, Individually and on 22-cv-10019-UA (JSR)
Behalf of All Others Similarly
Situated, ORDER

Plaintiff,

JP MORGAN CHASE & CO.,

Defendant.

 

 

 

JED S. RAKOFF, U.S.D.J.:

On the consent of all parties, see transcript 12/5/2022, the
above-captioned cases are hereby consolidated for all pre-trial
purposes. The Clerk of the Court is respectfully directed to
consolidate the cases under the docket number 22-cv-10018-UA but
bearing both captions. However, barring further order of the Court,

trial of the cases will proceed separately, with 22-cv-10018-UA

 

 

 
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starting trial on August 7, 2023 and 22-cv-10019-UA starting trial on

September 5, 2023.
SO ORDERED.

New York, Qs LA
, 2022

December JHA S. RAKOFSS U.S.D.J.

 

 

 

 

 

 

 

 

 
